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  4Entered on Docket
   February 24, 2025
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 13                                 UNITED STATES BANKRUPTCY COURT
 14                                          DISTRICT OF NEVADA
 15
                                             DISTRICT OF NEVADA
 16
       In re:                                              CASE No. 24-13181-hlb
 17
                                                           Chapter 11
 18
       VARALUZ, LLC,
 19
                       Debtor.
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       VARALUZ, LLC,                                       Adversary No. 24-01104-hlb
 22
                       Plaintiff,
 23
       v.                                                     ORDER DISMISSING ADVERSARY
 24                                                          PROCEEDING AND VACATING ALL
       WHITE ROAD CAPITAL LLC d/b/a GFE                                HEARINGS
 25    HOLDINGS, and BORIS MUSHEYEV,
 26                    Defendants.
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 1              Varaluz, LLC, debtor and debtor-in-possession (“Debtor”), White Road Capital LLC d/b/a
 2   GFE Holdings (“White Road”), and Boris Musheyev (“Mr. Musheyev” and together with White
 3   Road and Debtor, the “Parties”), by and through their respective undersigned counsel, entered into
 4   that certain Stipulation Dismissing Adversary Proceeding and Vacating All Hearings (the
 5   “Stipulation”).1
 6              The Court, having read and considered the Stipulation and good cause appearing therefore;
 7              IT IS HEREBY ORDERED that the Stipulation is approved.
 8              IT IS FURTHER ORDERED that the Adversary Proceeding is hereby dismissed with
 9   prejudice, with each party to bear its own attorney’s fees, expenses, and costs.
10              IT IS SO ORDERED.
11       GARMAN TURNER GORDON LLP                                    PORTER SIMON LAW
12

13       By /s/ Talitha Gray Kozlowski                               By: /s/ Ethan J. Birnberg
           TALITHA GRAY KOZLOWSKI, ESQ.                                   ETHAN J. BIRNBERG, ESQ.
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17                                                                        Attorneys for White Road Capital dba
                                                                          GFE Holdings, and Boris Musheyev
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         All capitalized, undefined terms shall have the meaning ascribed to them in the Stipulation.
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